Gretchen L. Staft
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FEDERAL PUBLIC DEFENDER
FOR THE DISTRICT OF ALASKA
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Counsel for Defendant Hayden Beard

                                   UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                                   Case No. 3:18-cr-00029-RRB-1
                               Plaintiff,
                                                             NOTICE OF CHANGE OF
           vs.                                               ADDRESS
 HAYDEN BEARD,
                               Defendant.

         Gretchen L. Staft, Assistant Federal Defender, counsel for Hayden Beard, provides

notice of the Office of the Federal Public Defender’s new office address:

                                               425 G Street, Suite 800
                                               Anchorage, AK 99501

         All other contact information for undersigned counsel remains the same.


         DATED at Anchorage, Alaska this 1st day of March, 2019.

                                                            Respectfully submitted,
                                                            FEDERAL PUBLIC DEFENDER
                                                            DISTRICT OF ALASKA
                Certificate of Service: 
 I  hereby  certify  that  I  electronically  filed  the    /s/ Gretchen L. Staft
 foregoing and any attachments with the Clerk of            Gretchen L. Staft
 Court for the United States District Court for the 
 District of Alaska by using the district’s CM/ECF          Assistant Federal Defender
 system on March 1, 2019. All participants in this          Counsel for Hayden Beard
 case  are  registered  CM/ECF  users  and  will  be 
 served by the district’s CM/ECF system. 
 /s/ Gretchen L. Staft                               




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